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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )          4:01CR3106-3
                                         )
                   Plaintiff,            )
                                         )
      vs.                                )
                                         )          ORDER
MARY NEGETHON,                           )
                                         )
                   Defendant.            )

       IT IS ORDERED that Defendant Negethon’s dispositional hearing is set on
Tuesday, April 25, 2006, at 4:30 p.m., before the undersigned United States District
Judge, in Courtroom No. 1, Robert V. Denney Federal Building and United States
Courthouse, 100 Centennial Mall North, Lincoln, Nebraska. Since this is a criminal
case, the defendant shall be present unless excused by the court.

      April 18, 2006.                        BY THE COURT:

                                             s/ Richard G. Kopf
                                             United States District Judge
